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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 VITOL INC.,

         Movant,                                    Case No. 1:24-cv-01492

 v.                                                 (Arising from Civil Case No. 1:20-cv-04577
                                                    in the United States District Court for the
 VEGA CAPITAL LONDON LIMITED and                    Northern District of Illinois)
 ADRIAN SPIRES,
                                                    Hon. Manish S. Shah
         Respondents.


              VEGA CAPITAL LONDON LIMITED AND ADRIAN SPIRES'
                       NOTICE OF UNOPPOSED MOTION

        PLEASE TAKE NOTICE that on Tuesday, September 17, 2024 at 9:45 a.m., or as soon

thereafter as counsel may be heard, the undersigned shall appear before the Honorable Manish S.

Shah at the Everett McKinley Dirksen U.S. Courthouse, Room 1919, 219 South Dearborn Street,

Chicago, Illinois 60604, and then and there present Respondents Vega Capital London Limited

and Adrian Spires' Unopposed Motion for Leave to File Certain Documents Under Seal.

 Dated: September 10, 2024

 Respectfully submitted,

 VEGA CAPITAL LONDON LIMITED
 and ADRIAN SPIRES

 By: /s/ Michael P. Kelly
 Michael P. Kelly                                  Shawn M. Taylor
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 and Adrian Spires



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